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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA                      |
                            Plaintiff,        |
                 v.                           |       No. 18 CR 157-4
                                              |       Honorable John Z. Lee
DEON PUGH                                     |
                            Defendant         |

     PUGH’S PETITION FOR A WRIT OF HABEAS CORPUS AD TESTIFICANDUM

      Deon Pugh, defendant herein, through his attorney, Carl P. Clavelli, respectfully

submits the following request for the production of a trial witness, Kenneth Twyman, who is

presently incarcerated in a federal institution, and states as follows:

      1. Deon Pugh and Kenneth Twyman are both named as defendants and

coconspirators in the above-captioned Indictment. The conspiratorial events alleged in this

Indictment revolve around the sales of controlled substances – namely heroin and fentanyl,

by the lead defendant, Jonathon Mason. Kenneth Twyman is a necessary witness to the

conspiracy charged in Count One, the only offense charged in this Indictment exposing

Pugh to a mandatory minimum sentence of ten years.

      2. Heretofore, only Twyman, charged in Count Five with having purchased over 400

grams of a mixture containing fentanyl, has been subjected to a mandatory minimum sentence

of ten years. Further, only Twyman is identified as having been involved in the purchase of the

fentanyl seized on December 6, 2017, that subjected him to the ten year mandatory term. No

defendant, including Twyman, has ever admitted having engaged in conspiratorial activities with

Mason subjecting them to such quantities of heroin or fentanyl to incur the statutory mandatory

punishment of ten years.



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      3. In his Response opposing the prosecution’s Santiago proffer, Pugh has admitted

to five separate purchases of 50 grams of heroin from Mason during the period of

November 3, 2017 to December 1, 2017, while denying those “common elements” that

typically demonstrate the type of “common agreement” that identifies co-conspiratorial

activities. Pugh Response Opposing Santiago Proffer, hereafter ‘Response’, at pp. 2-5, 16-

17; D.E. 568. The wiretap evidence describes the conversations between Mason and Pugh

relating to these five purchases from Mason and also indicate that each of the five sales

was earmarked for a single customer of Pugh and that Mason’s role was merely as the

supplier of the heroin to Pugh, a classic buyer-seller arrangement. Response at pp. 25-26.

      4. The Santiago Proffer indicates that a single witness, Derrick Wiltz, has entered

into an Agreement with the prosecution as stated within the Proffer which contains certain

statements attributed to Wiltz that he is allegedly prepared to present at a trial. Proffer, at

pp. 3-4, 16, 19. Wiltz’ alleged observations cannot be established by extrinsic evidence and

are subject to a finding that he is a reliable and credible witness to the alleged incriminating

events. Chief among these is that Pugh along with the aforesaid Kenneth Twyman assisted

Mason in preparing his heroin for sale. The prosecution has proffered that Wiltz will state

that he recalls a specific but unspecified occasion when Twyman and Pugh were at

Mason’s residence together performing activities related to his drug sales. Proffer at p. 23.

      5. Having received information that Pugh had never met Twyman until after their

arrests in this matter, counsel sought to verify this significant claim. On February 24, 2020,

before the pandemic caused the alteration of the Court’s usual procedures, counsel sent a

letter to the now-convicted and sentenced codefendant, Twyman, seeking to verify this




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 information. On or about March 4, 2020, counsel received a collect-call from Kenneth

 Twyman who was incarcerated at the federal penal institution in Milan, Michigan. In this call,

 Twyman confirmed that he had never met Pugh until after their arrests. Pugh submits that

 Twyman is a necessary witness for Pugh’s defense to the allegations of Count One of the

 Indictment. This conversation is recorded according to the policies of the BOP and available

 to the prosecution; therefore, its production is hereby requested as is the presence of

 Twyman at the trial of this cause.

       WHEREFORE, for the above and foregoing reasons, Deon Pugh, Defendant and

 Petitioner herein, moves for the entry of an appropriate Order directing the issuance of a

 Writ of Habeas Corpus ad Testificandum to the appropriate federal officials to secure the

 presence of Kenneth Twyman at the trial of Deon Pugh where he would be called as a

 defense witness, and for production of the aforesaid telephone conversation.

                                                  Respectfully submitted,


                                                  /S/ Carl P. Clavelli
                                                  Carl P. Clavelli
                                                  1420 Renaissance Dr., Suite 213
                                                  Park Ridge, IL 60068
                                                  Attorney for Deon Pugh
                                                  (312) 953-8165

                               CERTIFICATE OF SERVICE

      I hereby certify that I filed and served the foregoing Response to the
Consolidated Motion in Limine upon all counsel who have appeared in this case
and who use the Court’s CM/ECF electronic filing system.

                                                  S/ Carl P. Clavelli
                                                  Carl P. Clavelli


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